Case 2:17-Cv-OO423-A.]S Document 2 Filed 04/17/17 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

 

 

for the
Wiiliam Ringler )
}
}
d v f )
Pla¢'ntz]§“`(s) )
v. § Civil Action No. 17»423
Nonvin Technoiogies §
}
, .. _ )
Defendant(s,} )

SUMMONS lN A CIVIL ACTION

TUI (Defendant’s name and address) Norwin Technoiogie$

300 Rosewood Drive
Danvers, MA 01923

A lawsuit has been filed against you.

Witlu`n 21 days alter service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifif’s attomey,

whose name and address are; Joseph H_ Chiversl Esquire

100 First Avenue, Suite 650
Pittsburgh, PA 15222
jchivers@employmentrightsgroup.com

lf` you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

CLERK OF COURT

04/05/2017 %m 745 %M
Date Signature of Clerk or Deputy Clerk

 

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AO 440 (Rev. 013/121 Summeus in a Civil Actiors (Page 2)
Civil Action No. 17_423

PROOF OF SERVICE
(This Seetr'on should not befi!ed with the cour! unless required by Fer¢'. R. Civ. P. 4 (I))

This summons for blame afmdividuai and twa i)"a,,yj M b f bd , n ,_T.._ D` co l L`S
l ,, cd(¢h . ,¢l. l , _

was recewed by me on (dare) lA,F/_; l 71 Zr° l j

C`l l personally served the summons on the individual at &»l¢zm)

on (¢Iare,| ; or

13 I left the summons at the individual’s residence or usual place of abode with (nmne)
VW_ j m j , a person of suitable age and discretion who resides there,
011 (d.nf`e) , and mailed a copy to the individual’s last known address; or

Q'(wr\’ed the summons on (name qfindividua!) M£L/ ‘,/\ L;` jo g 5 151 ad `DC\ "U¢_/ mj who is
designated by law to accept service of process on behalf of maine .Jm-gam:mi¢m)' ua(b_`,:|‘)n Mn 0 1 aj _LS

due ' ' . '
G.Pl‘ 3_»:0 M¢Weod )/’Nc.jbwv¢/$] \. °“( '*’ -’j)?nlsl,=?l 27015?€;)‘“2_._ me

0
Cl l returned the summons unexecuted because A lew-3 ; 01'

l:l Othel‘ (.tpec;'fjd:

My fees are $ for travel and $ for services, for a total of $ O_gg

I declare under penalty of perjury that this information is true.

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Sewer '.s' address

_ (B=>J+\.,_._ MA~ QLLQ¢]~
Additional information regarding attempted service, etc:

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!~ S:JMr\-.__,Dr\-S`/; a y

